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September 21, 2023                                                                       Seth P. Waxman
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Mark Langer
Clerk of Court
United States Court of Appeals for the D.C. Circuit
333 Constitution Ave NW, Washington, DC 20001

Re: United States v. Twitter, Inc., No. 23-5044 – FRAP 28(j) Letter

Dear Mr. Langer,

        Twitter submits as supplemental authority In re Sealed Case, --- F.4th ---, 2023 WL
5947825 (D.C. Cir. Sept. 5, 2023, unsealed Sept. 13, 2023) (“Perry”), which held that full
judicial review is required before the Executive views documents likely protected by the Speech
and Debate privilege because that protection is constitutional. That holding is in significant
tension with the panel decision, which held that the also-constitutional presidential privilege is
not entitled to comparable procedural protections.

        First, in Perry, this Court stressed that the procedural protection for legislative privilege
set forth in United States v. Rayburn, 497 F.3d 654, 663 (D.C. Cir. 2007), is not a “prophylactic
rule” but rather part of the “constitutional privilege.” 2023 WL 5947825, at *7 n.6. It therefore
rejected as “baffling” the government’s argument that a “single layer of review” sufficed, and
held instead that an official asserting the privilege is entitled to full judicial review before the
Executive views any likely-to-be-privileged documents. 2023 WL 5947825, at *7, n.6.

       Because executive privilege is also constitutional, see United States v. Nixon, 418 U.S.
683, 708, its assertion is likewise entitled to full judicial review before the government views
materials likely to be privileged. That means Twitter’s First Amendment challenge to the non-
disclosure order should have been adjudicated before Twitter was required to comply with the
warrant and thereby eliminate any prospect of protecting privileged documents. See Pet’n 13-18.
And Twitter ought to have been permitted to notify former President Trump’s designated
representative so that, consistent with Rayburn and Perry, he could attempt to raise privilege
concerns. See id. at 6-13.

        Second, the panel’s decision threatens to undo the solicitude the Court just extended to
the Speech and Debate privilege in Perry. If the government can obtain documents (like those
on Representative Perry’s phone) by seeking them from a provider, gagging the provider, and
delaying resolution of privilege issues, then the protections the Court just clarified will be
nullified. See Pet’n 11. The Court should take up Twitter’s petition to avoid that result.

       Please provide copies of this letter to the en banc Court.
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Respectfully submitted,

/s/ Seth P. Waxman
Seth P. Waxman
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           EXHIBIT A
In re Sealed Case, --- F.4th ---- (2023)
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                                                               Congressman's    non-legislative     intra-congressional
                    2023 WL 5947825                            communications were not protected by Speech of Debate
      Only the Westlaw citation is currently available.        Clause;
              United States Court of Appeals,
               District of Columbia Circuit.                   Congressman's deliberations with other Members of
                                                               Congress about whether to certify presidential election or
                  IN RE: SEALED CASE                           how to assess information relevant to legislation about federal
                                                               election procedures were protected by Speech or Debate
                         No. 23-3001                           Clause; and
                              |
                  Argued February 23, 2023                     district court had to apply fact-specific inquiry on
                              |                                communication-by-communication basis to determine
                  Decided September 5, 2023                    whether Congressman's communications were privileged.
                              |
                 Reissued September 13, 2023
                                                               Affirmed in part, vacated in part, and remanded.
Synopsis
Background: Federal Bureau of Investigation (FBI) sought       Katsas, Circuit Judge, concurred and filed opinion.
search warrant to review forensic copy of contents of United
States Representative's personal cell phone. The United        Procedural Posture(s): On Appeal; Motion to Seal Records.
States District Court for the District of Columbia, Beryl
A. Howell, Chief Judge, granted in part and denied in part     Appeal from the United States District Court for the District
Representative's motion for nondisclosure. Representative      of Columbia (No. 1:22-sc-02144)
appealed.
                                                               Attorneys and Law Firms

                                                               John P. Rowley, III argued the cause for appellant. With him
Holdings: The Court of Appeals, Rao, Circuit Judge, held       on the briefs were John S. Irving, Stan M. Brand, and Stanley
that:                                                          E. Woodward, Jr.

                                                               John M. Pellettieri, Assistant Special Counsel, U.S.
district court's partial denial of Congressman's motion was
                                                               Department of Justice, argued the cause for appellee. With
immediately appealable collateral order;
                                                               him on the brief were J.P. Cooney, Deputy Special Counsel,
                                                               and Raymond N. Hulser, Counselor to the Special Counsel.
as matter of first impression, fact that information was
discovered during search of Congressman's personal cell        Before: Henderson, Katsas, and Rao, Circuit Judges.
phone did not preclude him from asserting Speech or Debate
Clause privilege;                                              Opinion

information on Congressman's cell phone relating to his
                                                               Concurring opinion filed by Circuit Judge Katsas.
informal factfinding efforts to help inform consideration of
upcoming vote was not categorically protected by Speech or     Rao, Circuit Judge:
Debate Clause;
                                                                *1 This case concerns the application of the Speech or
Congressman's communications with Members of Congress          Debate Clause privilege to the contents of Representative
and staff about legislation, votes, committee assignments,     Scott Perry's cell phone, which was seized by the Federal
and caucus affairs were privileged under Speech or Debate      Bureau of Investigation pursuant to a warrant. In a district
Clause;                                                        court motion, Representative Perry argued the Clause bars
                                                               the government from reviewing many of the messages stored
                                                               on the phone. As to communications with Executive Branch
                                                               officials and parties outside of Congress, Representative



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Perry argues that his messages are necessarily privileged            with individuals outside the federal government. He sent and
because they constitute “informal factfinding”—a capacious           received many of these communications before the House
category he asserts is always privileged and includes a              voted on whether to certify the electoral votes from the 2020
Member's attempts to obtain information related to topics of         election. See U.S. CONST. amend. XII (directing that “the
upcoming votes without express House authorization.                  President of the Senate shall, in the presence of the Senate and
                                                                     House of Representatives, open all the [Electors’] certificates
We disagree. Because at least some informal factfinding              and the votes shall then be counted”); Electoral Count Act of
is unprotected under our caselaw, Representative Perry's             1887, ch. 90, 24 Stat. 373 (codified as amended at 3 U.S.C. §
categorical rule fails. Under Supreme Court and circuit              15) (providing procedures for the congressional certification
precedent, the proper inquiry is fact-specific and considers         vote). Other communications occurred with respect to a vote
whether the act is “legislative,” i.e., “an integral part of         on proposed legislation to alter election procedures. For the
the deliberative and communicative processes by which                People Act of 2021, H.R. 1, 117th Cong.
Members participate in committee and House proceedings
with respect to the consideration and passage or rejection of         *2 In August 2022, a magistrate judge of the Middle
proposed legislation or with respect to other matters which the      District of Pennsylvania issued a search warrant authorizing
Constitution places within the jurisdiction of either House.”        the FBI to seize Representative Perry's phone and create a
Gravel v. United States, 408 U.S. 606, 625, 92 S.Ct. 2614, 33        forensic copy of its contents. After executing the warrant,
L.Ed.2d 583 (1972).                                                  the FBI sought a separate search warrant from the District
                                                                     Court for the District of Columbia to review the forensic
Some acts of informal factfinding, however, might satisfy the        copy. The court granted the warrant, with the proviso that
Gravel test, and so we reject the district court's categorical       Representative Perry would have an opportunity to assert
holding that such acts are never legislative acts subject            any claims of privilege under the Speech or Debate Clause
to the privilege. With respect to Representative Perry's             before the government could review the phone's contents. For
communications with Executive Branch officials and others            this procedure, the district court relied on United States v.
outside of Congress, we remand for the district court to apply       Rayburn House Office Building, which held the Executive
the Gravel standard on a communication-by-communication              Branch must “afford[ ] [a] Congressman an opportunity to
basis.                                                               assert the [Speech or Debate] privilege” before reviewing
                                                                     materials that likely contain privileged items. See 497 F.3d
As to Representative Perry's communications with Members             654, 663 (D.C. Cir. 2007).
of Congress and congressional staff, we affirm in large
measure. The district court, however, incorrectly withheld           Representative Perry filed a “Motion for Nondisclosure” in
the privilege from communications between Representative             district court, arguing 2,219 communications were privileged
Perry and other Members about the 2020 election certification        from disclosure under the Speech or Debate Clause. He
vote and a vote on proposed election reform legislation. These       contended that the Clause protects Members’ efforts at
are quintessential legislative acts entitled to the privilege, and   informal factfinding. In his view, a Member's attempts to
we vacate the district court's judgment with respect to those        gather information related to upcoming votes are always
communications and remand.                                           privileged legislative acts because investigation is essential to
                                                                     the wise exercise of the legislative power.

                                                                     Following an in camera review of the contested records,
                                I.
                                                                     the district court ordered Representative Perry to disclose
Scott Perry represents Pennsylvania's 10th Congressional             all but 164 of them. 1 In re Search of Forensic Copy of
District in the House of Representatives. After the 2020             Cell Phone of Representative Scott Perry (“In re Search”),
presidential election, Representative Perry used his personal        No. 1:22-sc-02144, slip op. at 51 (D.D.C. Dec. 28, 2022).
cell phone to send and receive communications concerning             The court held informal factfinding is never a legislative act
allegations of fraud in that election. Some of these                 and therefore these communications are outside the Clause's
communications were with fellow Members of Congress                  scope. The court based this conclusion on the principle that
or with congressional staff. Representative Perry also               formal factfinding—i.e., investigation pursuant to official
communicated with members of the Executive Branch and                authorization of a House of Congress—is protected under the



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Clause. The court inferred the privilege does not attach to        important questions separate from the merits, and that are
factfinding in the absence of such official authorization. Id.     effectively unreviewable on appeal from the final judgment
at 21.                                                             in the underlying action.” Swint v. Chambers Cnty. Comm'n,
                                                                   514 U.S. 35, 42, 115 S.Ct. 1203, 131 L.Ed.2d 60 (1995).
The court sorted the communications into three categories.
As to category (1), Representative Perry's communications          This court has applied the collateral order doctrine in
with individuals outside the federal government, the district      Speech or Debate cases involving the protection of Members’
court concluded these communications were not privileged           documents. In Rayburn, we held a district court's denial of a
because they were informal factfinding. Id. at 28–39. As           “[c]ongressman's motion for return of ... seized materials” on
to category (2), Representative Perry's communications with        Speech or Debate grounds was a collateral order. 497 F.3d at
other Members of Congress and with congressional staff,            657–59. And in In re Grand Jury Subpoenas, we reached the
the district court held some of these communications were          same conclusion with respect to the district court's denial of
privileged legislative acts, while others were too far removed     a motion to quash a subpoena on Speech or Debate grounds.
from the legislative process. Id. at 39–46. As to category         571 F.3d 1200, 1201–02 (D.C. Cir. 2009). Here, a Member
(3), Representative Perry's communications with members            of Congress asserted the Speech or Debate privilege by way
of the Executive Branch, the district court held none of           of an evidentiary motion in district court, asserting that the
these communications were privileged because they were             Executive was wrongfully attempting to review privileged
“political” or not factfinding at all. Id. at 48–51.               documents. The district court partially denied the motion.
                                                                   That is an immediately appealable collateral order under a
We stayed the district court's order pending appeal and            straightforward application of Rayburn and In re Grand Jury
expedited the case. Our review is de novo. See Ass'n of Am.        Subpoenas.
Physicians & Surgeons, Inc. v. Schiff, 23 F.4th 1028, 1032
(D.C. Cir. 2022).                                                  The government contends we lack jurisdiction because of
                                                                   Mohawk Industries, Inc. v. Carpenter, 558 U.S. 100, 130 S.Ct.
                                                                   599, 175 L.Ed.2d 458 (2009). In Mohawk, the Supreme Court
                                                                   held a district court's disclosure order is not immediately
                              II.
                                                                   appealable even when the attorney-client privilege is at stake.
At the outset, the government maintains we lack jurisdiction       Id. at 103, 130 S.Ct. 599. Yet the Court reserved judgment
over this appeal because orders requiring the disclosure           on whether the denial of a governmental privilege should be
of documents or records are ordinarily not immediately             treated the same as a private privilege, “express[ing] no view”
appealable. The subject of a disclosure order must usually         on whether “collateral order appeals should be available for
“refuse to comply and litigate [disclosure] questions in           rulings involving certain governmental privileges in light of
the event that contempt or similar proceedings are brought         their structural constitutional grounding under the separation
against him”; he may then appeal any resulting contempt            of powers, relatively rare invocation, and unique importance
order. Gov't Br. 15–16 (quoting United States v. Ryan, 402         to governmental functions.” Id. at 113 n.4, 130 S.Ct. 599
U.S. 530, 532, 91 S.Ct. 1580, 29 L.Ed.2d 85 (1971)).               (cleaned up).
The government argues this rule applies here, so that
Representative Perry's only route to appellate review is to        The Speech or Debate privilege concerns the separation of
incur contempt and appeal from that order. We disagree.            powers; it is rarely invoked; and it is uniquely important to
                                                                   the fulfillment of governmental functions. See United States
 *3 Under our precedent, the district court's partial              v. Johnson, 383 U.S. 169, 179, 86 S.Ct. 749, 15 L.Ed.2d 681
denial of Representative Perry's nondisclosure motion is an        (1966). By recognizing the unique status of governmental
immediately appealable collateral order. The collateral order      privileges, Mohawk left our precedent untouched. Following
doctrine treats some decisions as “final” even if they do not      Rayburn and In re Grand Jury Subpoenas, the denial of a
terminate the case. Cohen v. Beneficial Indus. Loan Corp.,         claim of Speech or Debate Clause privilege over documents
337 U.S. 541, 545–46, 69 S.Ct. 1221, 93 L.Ed. 1528 (1949);         is an immediately appealable collateral order, and so we have
28 U.S.C. § 1291 (providing jurisdiction in the courts of          jurisdiction over Representative Perry's appeal. 2
appeals over “final decisions”). This is a “small category,” and
it “includes only decisions that are conclusive, that resolve



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                                                                 beyond “words spoken in debate” to include written reports
                                                                 and resolutions, voting, and other “things generally done in a
                             III.
                                                                 session of the House by one of its members in relation to the
Representative Perry invokes the Speech or Debate Clause         business before it.” Id.
to protect over two thousand documents and communications
on his cell phone against disclosure to the Executive Branch.    While the Clause covers more than literal speech and
To evaluate his claims, we begin by setting forth our well-      debate, its reach has always been confined to legislative acts
established framework for considering whether a particular       undertaken within the legislative process. Thomas Jefferson
matter comes within the Clause's coverage.                       commented the privilege “is restrained to things done in the
                                                                 House in a Parliamentary course” and does not attach “contra
                                                                 morem parliamentarium [against parliamentary custom],
                                                                 to exceed the bounds and limits of [a Member's] place
                              A.
                                                                 and duty.” 1 THOMAS JEFFERSON, A MANUAL OF
 *4 The Speech or Debate Clause provides that “for               PARLIAMENTARY PRACTICE 23–24 (2d ed. 1812) (italics
any Speech or Debate in either House, [Senators and              added). Joseph Story similarly stated the privilege “is strictly
Representatives] shall not be questioned in any other Place.”    confined to things done in the course of parliamentary
U.S. CONST. art. I, § 6, cl. 1. In the Constitution's careful    proceedings, and does not cover things done beyond the
separation of powers, the Clause serves to safeguard the         place and limits of duty.” 2 STORY, COMMENTARIES §
independence of Congress, “prevent[ing] intimidation of          863; see also Hutchinson v. Proxmire, 443 U.S. 111, 126, 99
legislators by the Executive and accountability before a         S.Ct. 2675, 61 L.Ed.2d 411 (1979) (quoting this passage with
possibly hostile judiciary.” Gravel, 408 U.S. at 617, 92 S.Ct.   approval).
2614. The Clause is “one manifestation of the [Constitution's]
‘practical security’ for ensuring the independence of the         *5 In adjudicating the scope of the privilege, courts have
legislature.” Johnson, 383 U.S. at 179, 86 S.Ct. 749 (quoting    consistently recognized both the privilege's importance for
THE FEDERALIST NO. 48, at 332 (James Madison)                    congressional independence and the limits of the privilege
(Jacob E. Cooke ed., 1961)); see also 2 JOSEPH STORY,            to acts within the legislative sphere. For instance, the Coffin
COMMENTARIES ON THE CONSTITUTION § 863 (1st                      court emphasized the privilege attaches only to a legislator's
ed. 1833) (calling the privilege a “great and vital” one,        words or acts made “in the character of a representative” and
“without which all other privileges would be comparatively       while “executing the duties of his office.” 4 Mass. at 29–31.
unimportant, or ineffectual”).                                   In Johnson, the Court explained the privilege “will be read
                                                                 broadly to effectuate its purposes,” but limited the Clause's
While the privilege's core is speech and debate in either        protection to barring a conspiracy charge insofar as it was
House, it has long been recognized to reach other acts within    based on a Member's speech, while allowing the prosecution
                                                                 to proceed for matters unrelated to the speech. 383 U.S.
legislative proceedings. 3 In 1808, the Supreme Judicial
                                                                 at 172, 180, 185, 86 S.Ct. 749. And in United States v.
Court of Massachusetts, interpreting a nearly identical
                                                                 Brewster, the Court maintained it would not be “wise, simply
legislative privilege in that state's constitution, refused to
                                                                 out of an abundance of caution to doubly insure legislative
“confine [the privilege] to delivering an opinion, uttering
                                                                 independence, to extend the privilege beyond its intended
a speech, or haranguing in debate,” and instead extended
                                                                 scope, its literal language, and its history, to include all things
it to voting, making written reports, and “to every other
                                                                 in any way related to the legislative process.” 408 U.S. 501,
act resulting from the nature, and in the execution, of the
                                                                 516, 92 S.Ct. 2531, 33 L.Ed.2d 507 (1972) (emphasis added).
office.” Coffin v. Coffin, 4 Mass. (3 Tyng) 1, 27 (1808). The
Supreme Court subsequently called Coffin “perhaps ... the
                                                                 The Supreme Court synthesized the Clause's history in a
most authoritative case in this country on the construction of
                                                                 pair of cases that set forth the modern test for what types
the [Speech or Debate Clause] in regard to freedom of debate
                                                                 of “legislative acts” beyond pure speech and debate are
in legislative bodies,” noting it was decided “early after the
                                                                 privileged under the Clause. In Brewster, the Court noted
formation of the Constitution of the United States.” Kilbourn
                                                                 “[a] legislative act has consistently been defined as an act
v. Thompson, 103 U.S. 168, 204, 26 L.Ed. 377 (1881). And
                                                                 generally done in Congress in relation to the business before
when the Supreme Court considered the Clause's reach for
                                                                 it” and that not all “conduct related to the due functioning of
the first time, it followed Coffin, holding the Clause went


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the legislative process” is automatically privileged. Id. at 512,   the integrity of the legislative process,” Brewster, 408 U.S.
513–14, 92 S.Ct. 2531 (cleaned up). And in Gravel, the Court        at 517, 92 S.Ct. 2531; whether the “independence” of the
further clarified:                                                  legislature is at stake, Eastland, 421 U.S. at 511, 95 S.Ct.
                                                                    1813; and whether the actions at issue are things “generally
                                                                    done in the course of the process of enacting legislation,”
             Legislative acts are not all-                          Hutchinson, 443 U.S. at 131, 99 S.Ct. 2675 (citing Kilbourn,
             encompassing. The heart of the Clause                  103 U.S. at 204) (cleaned up). These considerations are
             is speech or debate in either House.                   important for understanding the scope of the Speech or
             Insofar as the Clause is construed to                  Debate Clause, and they help to flesh out the application of
             reach other matters, they must be an                   the Gravel criteria to specific facts.
             integral part of the deliberative and
             communicative processes by which                        *6 The Clause's coverage for legislative acts is further
             Members participate in committee and                   delineated by what is not privileged. The Supreme Court
             House proceedings [1] with respect                     has repeatedly emphasized that Members may engage in a
             to the consideration and passage or                    variety of legitimate actions within the duties of their office
             rejection of proposed legislation or [2]               without triggering the privilege. For instance, “legitimate
             with respect to other matters which                    activities [of a] political ... nature,” such as “ ‘errands’
             the Constitution places within the                     performed for constituents, the making of appointments with
             jurisdiction of either House.                          Government agencies, assistance in securing Government
                                                                    contracts, ... and speeches delivered outside the Congress”
                                                                    are not necessarily privileged. Brewster, 408 U.S. at 512,
408 U.S. at 625, 92 S.Ct. 2614.                                     92 S.Ct. 2531. The act of sending political newsletters to
                                                                    constituents is not privileged. Hutchinson, 443 U.S. at 130, 99
The Court's subsequent cases leave no doubt: Gravel sets            S.Ct. 2675. And “cajol[ing] ... and exhort[ing]” members of
forth the criterion for assessing the reach of the Speech           the Executive Branch “with respect to the administration of a
or Debate privilege. In Doe v. McMillan, the Court held             federal statute ... is not protected legislative activity.” Gravel,
the privilege did not apply to acts that were “not an               408 U.S. at 625, 92 S.Ct. 2614. While such acts are all in a
essential part of the legislative process and [were] not part       day's work for a Member of Congress, they are not privileged
of that deliberative process ‘by which Members participate          under the Speech or Debate Clause.
in committee and House proceedings.’ ” 412 U.S. 306, 315,
93 S.Ct. 2018, 36 L.Ed.2d 912 (1973) (quoting Gravel, 408           These decisions highlight that “there is a difference
U.S. at 625, 92 S.Ct. 2614). There, the Member maintained           between actions taken by legislators, however frequently, and
the privilege should attach to acts that served legislative         legislative activity protected by the immunity of the Speech
functions, but that argument was unavailing because the             or Debate Clause.” McSurely v. McClellan, 553 F.2d 1277,
acts were not “legislative” within the meaning of Gravel.           1286 n.28 (D.C. Cir. 1976) (en banc) (majority opinion). 4
Id. at 313–14, 93 S.Ct. 2018. In Eastland v. United States          The privilege does not turn on whether an action is in
Servicemen's Fund, the Court “specifically” made clear that         some general sense “official”; rather, it turns on whether
the judicial task is to “determine whether the [contested]          it is a legislative act within the scope of Gravel. As we
activities are” within Gravel’s definition of “legislative acts.”   have explained, “[b]eyond actual speech or debate, an act is
421 U.S. 491, 504, 95 S.Ct. 1813, 44 L.Ed.2d 324 (1975). In         considered ‘legislative’ only if” it falls within one of Gravel’s
Hutchinson, the Court quoted Gravel at length and similarly         two categories. Massie v. Pelosi, 72 F.4th 319, 322 (D.C. Cir.
described its formulation as the controlling “definition of the     2023) (emphasis added); see also, e.g., McCarthy v. Pelosi, 5
scope of the Clause.” 443 U.S. at 126–27, 99 S.Ct. 2675; see        F.4th 34, 39 (D.C. Cir. 2021); United States v. Rostenkowski,
also United States v. Helstoski, 442 U.S. 477, 492, 99 S.Ct.        59 F.3d 1291, 1302 (D.C. Cir. 1995). And unlike executive
2432, 61 L.Ed.2d 12 (1979) (citing Gravel favorably).               privilege, which may extend to “the outer perimeter of ...
                                                                    official duties,” Chastain v. Sundquist, 833 F.2d 311, 315
When evaluating whether something is a “legislative act”            (D.C. Cir. 1987), the “Clause ... does not protect acts that
within the meaning of Gravel, the Court will often consider         are not legislative in nature, even if they are performed in a
whether protection of the privilege is “necessary to preserve       Member's official capacity,” United States v. Rose, 28 F.3d



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181, 187 (D.C. Cir. 1994) (cleaned up); see also Fields v.       acts. See United States v. Hubbell, 530 U.S. 27, 40, 120 S.Ct.
Office of Eddie Bernice Johnson, 459 F.3d 1, 12–13 (D.C. Cir.    2037, 147 L.Ed.2d 24 (2000) (While “compelled testimony ...
2006) (en banc) (plurality opinion) (distinguishing executive    is not to be found in the contents of the documents produced
and legislative privileges and explaining “[i]t is not enough    in response to [a] subpoena,” compelled testimony is often
that a Member's conduct is within the outer perimeter of the     “inherent in the act of producing those documents.”) (cleaned
legislative process”).                                           up). Similarly, a private litigant “is no more entitled to compel
                                                                 [the] congressional ... production of documents ... than it is to
Across a wide variety of factual circumstances, the Supreme      sue congressmen.” Brown & Williamson, 62 F.3d at 421.
Court and this circuit have faithfully applied the Gravel test
and the principles animating it to determine whether an act       *7 In Rayburn, we applied these cases to an extraordinary
is legislative and therefore privileged under the Speech or      circumstance, the Executive's search of a Representative's
Debate Clause.                                                   House office pursuant to a warrant. 497 F.3d at 663
                                                                 (remarking that “[t]he historical record [is] utterly devoid
                                                                 of Executive searches of congressional offices”). Given the
                                                                 location of the search, we assumed it “must have resulted
                              B.
                                                                 in the disclosure of legislative materials to agents of the
If a Member's act qualifies as legislative under Gravel, the     Executive,” and we noted that such a broad disclosure would
privilege applies and the Clause confers three “absolute”        violate the Clause's testimonial privilege. Id. at 661. But we
protections. See Eastland, 421 U.S. at 509, 95 S.Ct. 1813.       also reiterated that the Clause “protects against the compelled
First, the privilege includes immunity from suit—a Member        disclosure of privileged documents ... but not the disclosure
may not be sued or prosecuted for his legislative acts. Id.      of non-privileged materials.” Id. at 664. We explained the
at 502, 95 S.Ct. 1813. Second, the privilege includes an         Representative must be given some opportunity to assert
evidentiary privilege—legislative acts may not be introduced     the privilege in court before the Executive could view the
into evidence even when the government seeks to punish           documents. Id. at 662–63. It is this testimonial protection that
a Member for non-legislative acts. Johnson, 383 U.S. at          Representative Perry invokes over the communications and
176–77, 86 S.Ct. 749. Third, the privilege encompasses a         materials on his cell phone.
testimonial privilege not to “be questioned in any other
Place.” U.S. CONST. art. I, § 6, cl. 1. This means that
only Congress, not the Executive or Judiciary, may force                                        IV.
a Member to testify about legislative acts. Gravel, 408
U.S. at 616, 92 S.Ct. 2614. Legislative acts receive these       Representative Perry claims the Speech or Debate Clause
protections regardless of the Member's subjective motives.       privilege protects many of the communications on his cell
See Tenney v. Brandhove, 341 U.S. 367, 377, 71 S.Ct. 783, 95     phone. With respect to communications with individuals
L.Ed. 1019 (1951) (“[I]t [i]s not consonant with our scheme      outside the federal government and with Executive Branch
of government for a court to inquire into the motives of         officials, categories (1) and (3) of the district court's analysis,
legislators.”).                                                  Representative Perry argues these are privileged because they
                                                                 constitute informal factfinding. 5 This category is somewhat
In addition, this court also recognizes that one aspect of       capacious and not clearly delineated, but Representative
the testimonial privilege is a limited protection against        Perry's definition seems to be: a Member's individual efforts
the compelled disclosure of documents. In Brown &                to obtain information related to an upcoming vote in the
Williamson Tobacco Corp. v. Williams, we explained the           absence of formal House or committee authorization. See,
“testimonial immunity of the Speech or Debate Clause”            e.g., Perry Br. 11 (framing the case as concerning “the fact-
applies beyond the direct questioning of Members because         gathering communications that Rep. Perry conducted, as a
“[d]ocumentary evidence can certainly be as revealing as oral    Member of Congress, to inform his legislative actions”);
communications.” 62 F.3d 408, 420 (D.C. Cir. 1995); see also     id. at 17 (“[L]egislative acts include formal and informal
MINPECO, S.A. v. Conticommodity Servs., Inc., 844 F.2d 856       factfinding, and efforts to help inform consideration of an
(D.C. Cir. 1988). Just as the other branches may not compel      upcoming vote.”) (cleaned up); id. at 32 (“Each of th[e]
verbal testimony concerning legislative acts, they may not       communications should be viewed ... in the context of
force Members to hand over documentary evidence of those         Rep. Perry's efforts to seek information that was closely


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tied to his official responsibilities.”). Representative Perry      organization, and the organization sued the subcommittee's
maintains that anything constituting informal factfinding is        chairman, other senators, and a subcommittee attorney,
a legislative act protected by the Clause—that such matters         seeking injunctive and declaratory relief. Id. at 494–95, 95
are categorically privileged from disclosure. The district court    S.Ct. 1813. The Court began by considering whether the
resolved this categorical argument with a categorical holding       subpoena was “within the legitimate legislative sphere” and
that informal factfinding is never protected by the Clause.         whether the acts “took place ‘in a session of the House by one
See In re Search, slip op. at 21. The government defends the        of its members in relation to the business before it.’ ” Id. at
district court's categorical holding. 6 See Gov't Br. 41–47.        503, 95 S.Ct. 1813 (cleaned up) (quoting Kilbourn, 103 U.S.
                                                                    at 204). The Court emphasized that an official congressional
 *8 The problem with this litigating posture, however, is           investigation is “essential to legislating” and covered by
that Representative Perry considers a variety of actions            the privilege so long as the subcommittee stays within its
to constitute so-called informal factfinding, and under our         “province.” Id. at 507, 95 S.Ct. 1813 (cleaned up); see also
precedents not all of these actions are legislative acts. Because   Trump v. Mazars USA, LLP, ––– U.S. ––––, 140 S. Ct. 2019,
not everything included in this novel category satisfies the test   2031, 207 L.Ed.2d 951 (2020) (explaining Congress enjoys
articulated in Gravel, the category does not settle the question    an investigative power that has defined limits and “is justified
of whether the communications are privileged. Rather, a             solely as an adjunct to the legislative process”) (cleaned
given act is legislative if it is an “integral part of” relevant    up). More specifically, the issued subpoena “concerned a
House or committee “proceedings.” Gravel, 408 U.S. at               subject on which legislation could be had,” and the Members’
625, 92 S.Ct. 2614. It is possible that some communications         decision to issue it was consequently “an integral part of the
within the informal factfinding category could be privileged,       legislative process” within the scope of Gravel. Eastland,
and therefore we disagree with the district court's holding         421 U.S. at 505–06, 95 S.Ct. 1813 (cleaned up). In these
that informal factfinding is never a legislative act. But we        circumstances, the issuance of the subpoena was a privileged
also reject Representative Perry's proposition that informal        legislative act.
factfinding is always a legislative act.
                                                                    The Court has been careful to maintain, however, that
In assessing whether the privilege applies, the Supreme Court       not everything done pursuant to formal authorization is
and this circuit undertake a fact-specific inquiry under Gravel.    privileged. For instance, in McMillan, the Court explained
Because the district court is better positioned to apply the        that “the fact of congressional authorization for the
correct fact-specific inquiry in the first instance, we vacate      questioned act is not sufficient to insulate the act from judicial
and remand this part of the order.                                  scrutiny.” 412 U.S. at 316 n.10, 93 S.Ct. 2018; see also
                                                                    Powell v. McCormack, 395 U.S. 486, 504, 89 S.Ct. 1944,
                                                                    23 L.Ed.2d 491 (1969) (similar). The Court recognized the
                                                                    “importance of informing the public about the business of
                               A.                                   Congress. However, the question remains whether the act
                                                                    of doing so, simply because authorized by Congress, must
In holding that informal factfinding is categorically not
                                                                    always be considered ‘an integral part of the deliberative and
privileged, the district court relies primarily on Eastland
                                                                    communicative processes by which Members participate in
and McSurely. These cases, however, do not establish a
                                                                    committee and House proceedings’ with respect to legislative
categorical privilege rule for formal (i.e., congressionally
                                                                    or other matters before the House.” McMillan, 412 U.S. at
authorized) factfinding, much less for informal factfinding.
                                                                    314, 93 S.Ct. 2018 (quoting Gravel, 408 U.S. at 625, 92
Rather, these cases simply apply Gravel and established
                                                                    S.Ct. 2614); see also Eastland, 421 U.S. at 505–07, 95 S.Ct.
legal principles to determine whether some actions taken
                                                                    1813 (following McMillan and Gravel). The relevant inquiry
pursuant to formally authorized investigations are legislative
                                                                    always reverts to whether an act is legislative under Gravel.
and therefore privileged.

                                                                     *9 In McSurely, our en banc court considered in detail
For instance, in Eastland, the Supreme Court held the
                                                                    whether the “transportation and use of ... seized” private
privilege attached to the issuance of a subpoena by a
                                                                    documents “by the chairman of [a] Senate subcommittee and
subcommittee acting pursuant to a Senate authorized national
                                                                    several members of the subcommittee staff” were covered
security investigation. 421 U.S. at 503–07, 95 S.Ct. 1813.
                                                                    by the privilege. 553 F.2d at 1280 (per curiam opinion).
The subpoena sought the bank records of a non-profit


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We explained that even if an investigation “fell within the        privilege to attach to the wide range of activities that could
broad authorization of [a] Senate resolution[,] [that] does        be denominated “investigative” or “factfinding.” 8 Rather, the
not render everything done by” a subcommittee or one of            Supreme Court and this circuit consider the specific facts
its investigators “privileged activity which is essential to       to determine whether a particular action is a legislative act
legislating.” Id. at 1295 (majority opinion) (cleaned up).
                                                                   within the test articulated by Gravel. 9
Rather, in order “[f]or an activity to be considered ‘essential
to legislating’ it must be ‘an integral part of the deliberative
and communicative processes’ dealing with matters within
the jurisdiction of Congress.” Id. (quoting Gravel, 408 U.S. at                                  B.
625, 92 S.Ct. 2614). And even authorized factfinding may not
be privileged if it “go[es] beyond the reasonable requirements     Representative Perry maintains all instances of informal
of the legislative function.” Id. at 1285 n.27, 1287 (quoting      factfinding fit within Gravel’s first category: acts that are
McMillan, 412 U.S. at 315, 93 S.Ct. 2018). In applying             “integral part[s] of the deliberative and communicative
these principles, we found that some acts taken pursuant           processes by which Members participate in committee and
to the investigation were protected and others were not.           House proceedings with respect to the consideration and
For instance, subcommittee staff were protected when they          passage or rejection of proposed legislation.” 10 408 U.S. at
inspected “234 photocopies” of seized documents “within            625, 92 S.Ct. 2614. To support his contention, Representative
the [s]ubcommittee.” Id. at 1296. The Members were also            Perry relies on the importance of Congress's factfinding or
protected when they “use[d] ... the copies as the basis for        informing function as an ancillary to its legislative powers.
issuance of subpoenas ... and ... procure[d] ... contempt of       For example, Representative Perry points to the Court's
Congress citations against [the] plaintiffs.” Id. But one of       emphasis that “the power to investigate is inherent in the
the subcommittee's investigators was not protected when he         power to make laws because ‘a legislative body cannot
seized documents “[c]oncededly [i]rrelevant to [l]egislative       legislate wisely or effectively in the absence of information
[i]nquiry.” 7 Id. at 1294–95 (majority opinion). In McSurely,      respecting the conditions which the legislation is intended
the granular, fact-intensive evaluation resists any categorical    to affect or change.’ ” See Eastland, 421 U.S. at 504, 95
rule that the Speech or Debate Clause privilege turns on           S.Ct. 1813 (quoting McGrain v. Daugherty, 273 U.S. 135,
formal authorization for an investigation.                         175, 47 S.Ct. 319, 71 L.Ed. 580 (1927)) (cleaned up); see
                                                                   also McSurely, 553 F.2d at 1286 (“We have no doubt that
Other decisions similarly confirm the Speech or Debate             information gathering, whether by issuance of subpoenas or
privilege does not turn solely on the formality or regularity      field work by a Senator or his staff, is essential to informed
of a Member's act. For example, Coffin held the privilege          deliberation over proposed legislation.”). Representative
was applicable to legislative acts “without inquiring whether      Perry contends the importance of factfinding to the legislative
the exercise was regular according to the rules of the             process necessarily makes such acts legislative and therefore
house, or irregular and against their rules.” 4 Mass. at 27        privileged.
(emphasis added). And in Brown & Williamson, we noted
“[t]he privilege ... permits Congress to conduct investigations     *10 Informal factfinding is an amorphous category,
and obtain information without interference from the courts,       and Perry's briefing is unclear what precisely would be
at least when these activities are performed in a procedurally     subsumed within this term. Some instances of informal
regular fashion.” 62 F.3d at 416 (emphasis added).                 factfinding might be privileged, but at least some of the acts
                                                                   Representative Perry considers to be informal factfinding
In light of the reasoning in Eastland, McSurely, and other         have been held to be outside the coverage of the Clause. See
cases, we reject the district court's holding that all informal    McSurely, 553 F.2d at 1285 n.27 (explaining the Supreme
factfinding is excluded from protection of the privilege           Court “has held significant aspects of ‘the informing function
and that factfinding must have formal authorization before         of Congress’ outside of the protection of the Speech or Debate
the privilege may attach. See In re Search, slip op. at            Clause”) (cleaned up). His categorical claim for the privilege
21. An investigation authorized by the House and within            therefore fails.
its jurisdiction is an exercise of congressional power and
by definition part of a legislative proceeding, but formal         To begin with, Representative Perry would treat acquiring
authorization is neither necessary nor sufficient for the          information or documents to further legislative deliberations



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as always privileged, but this claim is directly at odds with       uncertainty about the validity of a Presidential election and
Gravel. Perry Br. 11, 17. That case concerned a senator who         under circumstances that neither the nation nor its leaders had
obtained a copy of the classified Pentagon Papers with the          seen before.” Perry Br. 28. The Speech or Debate privilege
help of an aide. Gravel, 408 U.S. at 608–10, 92 S.Ct. 2614.         undoubtedly “assure[s] a co-equal branch of the government
The Senator read the Papers into the record and subsequently        wide freedom of speech, debate, and deliberation without
handed them off to a private publisher. Id. at 609–10, 92           intimidation or threats from the Executive Branch.” Gravel,
S.Ct. 2614. The Court held the Senator's act of reading the         408 U.S. at 616, 92 S.Ct. 2614. But under Gravel, the
Papers into the record was a legislative act, i.e., actual speech   “Clause ... does not protect acts that are not legislative in
in the Senate, but the act of publishing them was not. Id. at       nature, even if they are performed in a Member's official
615–16, 622, 628–29, 92 S.Ct. 2614. Importantly, the Court          capacity.” Rose, 28 F.3d at 187 (cleaned up).
held a grand jury could ask the aide “questions relevant to
tracing the source of ... documents that came into the Senator's     *11 Privileged legislative acts are only a subset of the
possession ... as long as no legislative act is implicated by the   various activities a Member may undertake as part of his
questions.” Id. at 628, 92 S.Ct. 2614 (emphasis added). This        official duties and responsibilities. The fact that informal
necessarily entails that the acquisition of documents—a form        factfinding is consistent with a Member's official duty to
of informal factfinding—was not a legislative act. Gravel           legislate wisely does not necessarily mean that such acts
pokes a substantial hole in Representative Perry's privilege        are privileged. For instance, the Court has held that the
category.                                                           following activities are properly within a Member's duties,
                                                                    yet not covered by the privilege: “legitimate activities [of a]
Representative Perry also suggests that informal factfinding        political ... nature,” Brewster, 408 U.S. at 512, 92 S.Ct. 2531;
includes all “efforts to help inform consideration of               sending political newsletters to constituents, Hutchinson, 443
an upcoming vote.” Perry Br. 17. But this claim is                  U.S. at 130, 99 S.Ct. 2675; and “cajol[ing] ... and exhort[ing]”
inconsistent with the Supreme Court's decision in Hutchinson.       the Executive Branch, Gravel, 408 U.S. at 625, 92 S.Ct. 2614.
There, a Member collected information about the federal             Representative Perry's suggestion that all “official” acts are
government's allegedly wasteful expenditures and circulated         privileged directly contradicts the rule that the Clause does
this information in a press release and a constituent newsletter.   not “protect[ ] all conduct relating to the legislative process. ...
443 U.S. at 114–17, 99 S.Ct. 2675. The press release called         [T]he ... Clause has been limited to an act which was clearly
the spending “outrageous” and urged it was “time we put             a part of the legislative process—the due functioning of the
a stop” to the waste. Id. at 116, 99 S.Ct. 2675 (cleaned            process.” Brewster, 408 U.S. at 515–16, 92 S.Ct. 2531; accord
up). These communications fit within Representative Perry's         Brown & Williamson, 62 F.3d at 415.
understanding of informal factfinding because the Court
recognized “a Member's published statements exert some              Informal factfinding encompasses a wide spectrum of acts
influence on other votes in the Congress and therefore have         that may or may not be related, much less integral, to
a relationship to the legislative and deliberative process.”        House “deliberative and communicative processes.” Gravel,
Id. at 131, 99 S.Ct. 2675 (emphasis added). Nonetheless,            408 U.S. at 625, 92 S.Ct. 2614. Cases applying the
the Court held the privilege inapplicable because “neither          Gravel test to specific acts demonstrate that informal
the newsletters nor the press release was essential to the          factfinding has no necessary connection to the privilege. 12
deliberations of the Senate and neither was part of the             Not everything under the informal factfinding umbrella is
deliberative process.” Id. at 130, 99 S.Ct. 2675 (emphasis          protected. Representative Perry's attempt to shoehorn a novel
added) (cleaned up). Not all communications that may                and broad category into Gravel would pull the Supreme
influence a vote are privileged; rather, the proper test is         Court's doctrinal framework out of joint.
whether such communications are “integral” or “essential”
to deliberations or otherwise satisfy the requirements of                                          ***
Gravel. 11
                                                                    The Supreme Court and this circuit have never suggested
Finally, Representative Perry suggests his informal                 that investigative activities are privileged only if undertaken
factfinding efforts are legislative acts because these              pursuant to formal authorization, nor that any activity asserted
communications related to his “official” duties and                 to be investigative factfinding is privileged. These categorical
responsibilities as a Member of Congress “during a time of          rules are inconsistent with our longstanding precedents



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and their reasoning. The labels “formal” and “informal”             process.” 443 U.S. at 130, 99 S.Ct. 2675 (cleaned up).
factfinding gloss over the appropriate analysis under the           It follows that Representative Perry's discussions with his
Speech or Debate Clause. It follows from these principles that      staff about press coverage and his media strategy are also
communications with individuals outside of Congress may             not privileged legislative acts. These strategic discussions
qualify for the privilege. To determine whether a particular        are at least as removed from the deliberative process
matter or action is privileged, we must apply the test in Gravel    as the unprivileged communications in Hutchinson. The
in a manner consistent with the principles undergirding             government may view records of these communications.
the Clause. Because the district court applied the incorrect
legal standard, we remand the privilege determinations over          *12 We disagree, however, with the district court's
categories (1) and (3) for the district court to apply Gravel on    determination that discussions with other Members about
a communication-by-communication basis.                             alleged fraud in the 2020 presidential election were non-
                                                                    legislative. The court described these conversations as
                                                                    “purely political rather than legislative” and opined that
                                                                    they were “[a]t best ... merely incidental to Rep. Perry's
                               V.
                                                                    [upcoming certification] vote.” In re Search, slip op. at 45–
We now consider whether the privilege applies to                    47. The district court concluded these conversations were
communications between Representative Perry and other               “not integral to” legislative proceedings and were “ ‘beyond
Members of Congress or congressional staff. The district            the legitimate legislative needs of Congress.’ ” Id. at 46–47
court held some of these category (2) communications were           (quoting McSurely, 553 F.2d at 1285–86).
privileged legislative acts and some not. Representative Perry
maintains they are all privileged.                                  The district court inadequately considered the context of these
                                                                    conversations, which involved Member deliberations about
The district court correctly held that communications with          upcoming votes. Some of the communications took place
Members and staff about legislation, votes, committee               shortly prior to Congress's scheduled January 2021 vote on
assignments, and caucus affairs were squarely “legislative          whether to certify the electoral results from each state. Others
acts” within the meaning of Gravel. In re Search, slip op. at       took place while the House was considering a bill that would
40–44. Records of these communications are privileged.              modify federal election procedures, among other things. See
                                                                    H.R. 1, 117th Cong. Discussions between Members about
The district court also determined that some of Representative      pending votes are “things generally done in a session of the
Perry's intra-congressional communications were non-                House by one of its members in relation to the business
legislative. Id. at 43–44. These included electronic                before it,” Kilbourn, 103 U.S. at 204, and such discussions are
newsletters, insofar as they merely discussed “upcoming             within the heartland of “the deliberative and communicative
events, political talking points, news articles of interest, and    processes by which Members participate in committee and
[non-legislative] events occurring in and around Congress.”         House proceedings with respect to the consideration and
Id. We agree these are too far removed from legislative             passage or rejection of proposed legislation” or other matters
proceedings to warrant privilege under the Clause. Not              within the House's jurisdiction. 13 Gravel, 408 U.S. at 625,
“everything a Member of Congress may regularly do is ...            92 S.Ct. 2614.
a legislative act within the protection of the Speech or
Debate Clause.” McMillan, 412 U.S. at 313, 93 S.Ct. 2018.           Relying on the fact that the communications concerned
Although sent by Members of Congress to other Members,              election fraud and electoral results, the district court labeled
the newsletters did not concern legislative proceedings or          them “textbook political conversations not protected by the
matters integral to those proceedings, but rather focused           Clause.” In re Search, slip op. at 46. While elections are
on topics outside the “legislative sphere.” Id. (cleaned up).       political events, a Member's deliberation about whether to
The subjects of these communications are akin to political          certify a presidential election or how to assess information
matters not covered by the privilege. See Brewster, 408             relevant to legislation about federal election procedures are
U.S. at 512–13, 92 S.Ct. 2531. These newsletters are also           textbook legislative acts protected by Gravel.
similar to the newsletters and press release the Court held
unprotected in Hutchinson because they were not “essential          Federal courts must determine the outer boundaries of the
to the deliberations of the Senate [nor] part of the deliberative   Speech or Debate Clause privilege. But when a Member



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engages in a legislative act, the court cannot carve out from      Executive Branch supports the court's holding that the Clause
the privilege certain topics of discussion by labeling them        protects no unauthorized factfinding by individual Members
“merely incidental” or by deeming them illegitimate. Id. at        of Congress, and Perry continues to argue that the Clause
47; cf. Tenney, 341 U.S. at 377, 71 S.Ct. 783 (“The claim of       protects all the disputed records.
an unworthy purpose does not destroy the privilege.”). For
courts to pick and choose the scope of the privilege based on a    The Speech or Debate Clause provides that “for any Speech
free-floating evaluation of the proper objects of congressional    or Debate in either House,” Members of Congress “shall not
deliberation would threaten the Speech or Debate Clause's          be questioned in any other Place.” U.S. Const. art. I, § 6, cl.
essential protection for legislative independence.                 1. The Clause protects only “legislative acts,” which “must
                                                                   be an integral part of the deliberative and communicative
Representative Perry's conversations with other Members            processes by which Members participate in committee and
concerned the passage of proposed legislation as well as the       House proceedings with respect to the consideration” of either
exercise of the constitutional duty to certify the electoral       proposed legislation or other House votes. Gravel v. United
votes from the 2020 election. These communications were            States, 408 U.S. 606, 625, 92 S.Ct. 2614, 33 L.Ed.2d 583
privileged, and we leave it to the district court to implement     (1972). This category includes “things generally done in a
this holding on a communication-by-communication basis.            session of the House by one of its members in relation to the
                                                                   business before it.” Kilbourn v. Thompson, 103 U.S. 168, 204,
                             ***                                   26 L.Ed. 377 (1881). Conversely, the Clause does not protect
                                                                   “political” acts, which are “casually or incidentally related
As to Representative Perry's communications with                   to legislative affairs but not a part of the legislative process
individuals outside the federal government, communications         itself.” United States v. Brewster, 408 U.S. 501, 512, 528, 92
with members of the Executive Branch, and communications           S.Ct. 2531, 33 L.Ed.2d 507 (1972).
with other Members of Congress regarding alleged election
fraud during the period before Congress's vote certifying          Several precedents elucidate this distinction. Protected
the 2020 election and before its vote on H.R. 1, the district      legislative acts include voting, speaking on the floor,
court failed to apply the fact-specific privilege inquiry under    introducing bills or resolutions, writing committee reports,
Gravel. We therefore vacate the judgment in part and remand        and speaking at committee meetings. See Doe v. McMillan,
for the district court to apply the correct standard, consistent   412 U.S. 306, 311, 93 S.Ct. 2018, 36 L.Ed.2d 912 (1973);
with this opinion. With respect to the remaining privilege         Kilbourn, 103 U.S. at 204. Also protected is the issuance of
determinations about Representative Perry's communications         subpoenas, if formally authorized and relevant to a subject on
with Members of Congress, we affirm.                               which legislation could be had. Eastland v. U.S. Servicemen's
                                                                   Fund, 421 U.S. 491, 504–06, 95 S.Ct. 1813, 44 L.Ed.2d
*13 So ordered.                                                    324 (1975). On the other hand, unprotected political acts
                                                                   include press releases, speeches made outside the Congress,
                                                                   and helping constituents. Brewster, 408 U.S. at 512, 92 S.Ct.
                                                                   2531. Also unprotected are “attempts to influence the conduct
Concurring opinion filed by Circuit Judge KATSAS.
                                                                   of executive agencies,” Hutchinson v. Proxmire, 443 U.S.
Katsas, Circuit Judge, concurring:                                 111, 121 n.10, 99 S.Ct. 2675, 61 L.Ed.2d 411 (1979); the
Representative Scott Perry claims that the Speech or Debate        taking of bribes, Brewster, 408 U.S. at 525–26, 92 S.Ct.
Clause of the Constitution protects the confidentiality of         2531; the unauthorized acquisition of classified documents,
some 2,219 records stored on his cell phone, including             Gravel, 408 U.S. at 628–29, 92 S.Ct. 2614; and the use of
1,508 communications with individuals outside the House of         other “unlawful means” to pursue investigations, McSurely v.
Representatives. Perry says that the latter involve what he        McClellan, 553 F.2d 1277, 1288 (D.C. Cir. 1976) (en banc).
calls “informal factfinding” to inform his votes on whether
to (1) certify the results of the 2020 presidential election       The privilege claims asserted by Representative Perry are
and (2) support a bill to modify election procedures. The          substantially overbroad. Many of the disputed records involve
district court held that because the House had not formally        communications through which he sought to influence
authorized an investigation into either matter, the Clause         the conduct of officials outside the Congress—Executive
protects none of the 1,508 communications. On appeal, the          Branch officials, state legislative officials, and campaign



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officials. Many other records involve press releases or media       22 (D.D.C. Dec. 28, 2022) (In re Search). But one part of
statements. The district court correctly held that the Speech       McSurely says the opposite: “The acquisition of knowledge
or Debate Clause does not protect any of these records. And         through informal sources is a necessary concomitant of
because Perry attempts to shoehorn all the disputed records         legislative conduct and thus should be within the ambit of
into an assertedly protected category of informal factfinding,      the privilege so that congressmen are able to discharge their
this Court rightly concludes that his alleged category includes     constitutional duties properly.” 553 F.2d at 1287 (cleaned
many unprotected communications.                                    up). The district court invoked McSurely’s further statement
                                                                    that “congressional authorization” of an investigation, which
 *14 But some of the disputed records involve nothing               the House or Senate typically provides to a committee or
more than Representative Perry gathering information to             subcommittee, is a “requirement” to justify the issuance of
inform upcoming votes. In my view, the Speech or Debate             subpoenas under McGrain and the ensuing Speech or Debate
Clause protects that activity. Should an individual Member of       Clause protection under Eastland. See id. In turn, Eastland
Congress bother to learn something about a bill before voting       confirms that congressional authorization of an investigation
on it? The question answers itself. “Without information,           is “sufficient” to justify the issuance of subpoenas under
Congress would be shooting in the dark, unable to legislate         McGrain. See 421 U.S. at 506, 95 S.Ct. 1813. These rules,
‘wisely or effectively.’ ” Trump v. Mazars USA, LLP,                governing the authority and protection for the issuance of
––– U.S. ––––, 140 S. Ct. 2019, 2031, 207 L.Ed.2d 951               congressional subpoenas, do not suggest that the Speech or
(2020) (quoting McGrain v. Daugherty, 273 U.S. 135, 175,            Debate Clause affords no protection when a Member seeks
47 S.Ct. 319, 71 L.Ed. 580 (1927)). That is why each                only to gather information consensually and informally, from
House has an implied power to subpoena witnesses or                 individuals willing to provide it voluntarily.
documents relevant to possible legislation. McGrain, 273
U.S. at 177, 47 S.Ct. 319. It is also why the Speech or             Moreover, such a restriction would stand the Clause on its
Debate Clause protects exercises of that power. Eastland, 421       head. Its most obvious applications—to speech, debate, and
U.S. at 504, 95 S.Ct. 1813. Of course, individual Members           voting—cover activities that Members routinely perform on
cannot unilaterally exercise the House's implied power to           the floor of the House, individually and without authorization
issue subpoenas (at least absent a delegation), just as they        from any committee or subcommittee. A leading early
cannot unilaterally exercise Congress's express power to, say,      decision held that a state analog of the Clause “is not so
regulate interstate commerce. But when individual Members           much the privilege of the house, as an organized body, as
solicit or receive information from colleagues or others            of each individual member composing it, who is entitled to
willing to provide it voluntarily, they engage in activity          this privilege, even against the declared will of the house.”
integral to the “deliberative and communicative processes” of       Coffin v. Coffin, 4 Mass. 1, 27 (1808). The Supreme Court,
the Congress itself. Gravel, 408 U.S. at 625, 92 S.Ct. 2614.        describing Coffin as “perhaps, the most authoritative case
Regardless of formal authorization, the Speech or Debate            in this country” on the “freedom of debate in legislative
Clause thus protects “information gathering” as an “essential       bodies,” has treated Coffin as highly persuasive in construing
prerequisite[ ]” to the “enlightened debate over proposed           the federal Speech or Debate Clause. See Kilbourn, 103
legislation,” Gov't of V.I. v. Lee, 775 F.2d 514, 521 (3d Cir.      U.S. at 203–04. And the modern Court continues to describe
1985); see Miller v. Transamerican Press, Inc., 709 F.2d 524,       the Clause as protecting “the independence of individual
530 (9th Cir. 1983), just as a common-law immunity protects         legislators,” not the House or Senate as a whole or committees
the same activity by state and local legislators, Almonte v. City   or subcommittees acting on behalf of either body. Brewster,
of Long Beach, 478 F.3d 100, 107 (2d Cir. 2007); Bruce v.           408 U.S. at 507, 92 S.Ct. 2531.
Riddle, 631 F.2d 272, 279–80 (4th Cir. 1980); see also Kent v.
Ohio House of Representatives Democratic Caucus, 33 F.4th            *15 Finally, a formal authorization requirement would
359, 364 (6th Cir. 2022) (equating the two immunities).             make no sense. At oral argument, the Executive all
                                                                    but conceded that the Speech or Debate Clause protects
The district court reasoned that McSurely forecloses Speech         individual Members who, while conducting the business
or Debate Clause protection for information gathering that          of a congressional committee or subcommittee, informally
has not been formally authorized by the House or Senate             solicit input from individuals outside the Congress. See Oral
itself. In re Search of Forensic Copy of Cell Phone of              Arg. 46:00–48:30, 51:30–52:05. But the character of these
Representative Scott Perry, No. 1:22-sc-02144, slip op. at          solicitations is the same regardless of whether the relevant



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                                                                  who, in preparing for the same vote, solicits information from
deliberations occur in a subcommittee, in a committee,
                                                                  individuals outside the Congress.
or on the floor. If a Member of the Senate Judiciary
Committee engages in protected activity by soliciting input
                                                                  The Court rightly concludes that the category of “informal
from outside groups to inform his vote on whether to
                                                                  factfinding” proposed by Representative Perry includes much
recommend confirming a Supreme Court nominee, then so
                                                                  unprotected material, but I do not read the Court's opinion
too do other Members of the Senate in deciding how to
                                                                  to foreclose protection for the kind of informal, non-
vote when the nomination reaches the full Senate. Likewise,
                                                                  coercive information gathering that I have described. On that
the district court recognized that a Representative, regardless
                                                                  understanding, I join the Court's opinion in full.
of committee or subcommittee authorization, engages in
protected activity by soliciting information from fellow
Representatives about an upcoming vote. In re Search, supra,      All Citations
at 40–41. If that is so, then so too does a Representative
                                                                  --- F.4th ----, 2023 WL 5947825




                                                          Footnotes


1      The communications remain under seal, as do some of the district court proceedings. This opinion cites only
       to the unsealed portions of the record, and it cites only to parts of the parties’ briefs that do not concern
       sealed material.

2      Representative Perry also argues that, even without the collateral order doctrine, the district court's order
       was final because it “end[ed] the litigation on the merits and le[ft] nothing for the court to do but execute the
       judgment.” Catlin v. United States, 324 U.S. 229, 233, 65 S.Ct. 631, 89 L.Ed. 911 (1945). Because we have
       jurisdiction under the collateral order doctrine, we do not address this alternative argument.

3      The Clause mirrors the language of the English parliamentary privilege, and that history has at times been
       relevant for understanding the Clause but within the context of Congress's limited legislative powers. See,
       e.g., 2 STORY, COMMENTARIES § 863 (explaining the American “privilege ... is derived from the practice of
       the British parliament” but acknowledging “important distinction[s] arising from the actual differences between
       English and American legislation”); Kilbourn v. Thompson, 103 U.S. 168, 201, 26 L.Ed. 377 (1881) (“[W]hile
       the framers of the Constitution did not adopt the lex et consuetudo of the English Parliament as a whole,
       they did incorporate such parts of it, and with it such privileges of Parliament, as they thought proper to be
       applied to the two Houses of Congress.”); Johnson, 383 U.S. at 180–83, 86 S.Ct. 749 (discussing English
       history and the Clause's purposes).

4      Unless otherwise noted, we cite to the McSurely majority opinion, not the short per curiam opinion that
       preceded it.

5      Representative Perry's claim for privilege with respect to category (2), his communications with other
       Members of Congress and congressional staffers, does not hinge on his informal factfinding arguments, and
       we consider these communications in Part V.

6      The government also argues we need not review the district court's privilege determinations at all. First, the
       government asks us to limit Rayburn to searches of physical offices, as opposed to Members’ cell phones.
       Rayburn, however, explained that the privilege applies whenever the Executive Branch searches “a location
       where legislative materials [a]re inevitably to be found.” 497 F.3d at 661. A Member's cell phone is realistically




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       such a location. Cf. Riley v. California, 573 U.S. 373, 386, 134 S.Ct. 2473, 189 L.Ed.2d 430 (2014) (“Cell
       phones ... place vast quantities of personal information literally in the hands of individuals.”).

       Second, the government contends Rayburn guarantees Representative Perry only the opportunity to assert
       the privilege in district court, with no right to appeal, because Rayburn is merely a procedural case holding
       that a district court must conduct one layer of review before disclosure to the Executive. The government's
       somewhat baffling view is that once this single layer of review is complete, right or wrong, there is nothing
       more for an appellate court to do. This argument mistakenly treats Rayburn’s nondisclosure protection as a
       prophylactic rule rather than a constitutional privilege. If a communication is privileged and within Rayburn’s
       scope, the Executive Branch violates the Speech or Debate Clause by viewing it. And if the collateral order
       doctrine provides jurisdiction, as it does here, we must exercise that jurisdiction. See Sprint Communications,
       Inc. v. Jacobs, 571 U.S. 69, 77, 134 S.Ct. 584, 187 L.Ed.2d 505 (2013) (“Federal courts ... have no more right
       to decline the exercise of jurisdiction which is given, than to usurp that which is not given.”) (cleaned up).

7      Five of ten participating judges dissented with respect to these documents, but they did so on Fourth
       Amendment grounds. See id. at 1327–33 (Wilkey, J., dissenting).

8      When a privilege argument rests on the assertion that a House of Congress validly exercised its investigative
       power, the scope of that investigative power is relevant to the inquiry and the Court considers whether the
       investigation concerns “a subject on which legislation may be had.” Eastland, 421 U.S. at 508, 95 S.Ct. 1813.
       But determining whether Congress acted within the scope of its investigative power is a distinct inquiry from
       whether the privilege attaches under Gravel.

9      Even under this fact-specific evaluation, the district court was correct that it is “unnecessary and irrelevant”
       to “assess the sources of information Rep. Perry chose to use, the significance of that information to him in
       how he chose to act, or whether the information he obtained ... amounted to verifiable facts.” In re Search,
       slip op. at 30.

10     Representative Perry makes no argument that informal factfinding categorically fits within Gravel’s second
       category, acts that are “integral part[s] of the deliberative and communicative processes by which Members
       participate in committee and House proceedings ... with respect to other matters ... within the jurisdiction of
       either House.” Gravel, 408 U.S. at 625, 92 S.Ct. 2614.

11     To the extent Representative Perry also suggests the privilege extends to any and all factual conversations
       a Member has with individuals outside Congress, Perry Br. 29–30, our caselaw offers no support for that
       assertion.

12     Judge Katsas suggests some narrower category of information gathering is protected by the Clause. While
       this possibility is not foreclosed, we need not resolve it in this case.

13     The government does not dispute that the certification vote was a “matter[ ] which the Constitution places
       within the jurisdiction of [the] House,” nor that the vote on H.R. 1 was “the consideration ... of proposed
       legislation.” Gravel, 408 U.S. at 625, 92 S.Ct. 2614.



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